Exhibit E
    Christopher J. Clark                                             53rd at Third
    Direct Dial: + 1.212.906.1350                                    885 Third Avenue
    Christopher.Clark@lw.com                                         New York, New York 10022-4834
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                                                                     London          Singapore
    VIA Hand Delivery and Electronic Mail                            Los Angeles     Tokyo
                                                                     Madrid          Washington, D.C.
    Monika Roots, M.D.                                               Milan

    3140 Oxford Road
    Madison, WI, 53705
    612-250-9737
    Roots@wisconsin.edu

    STRICTLY PRIVATE AND CONFIDENTIAL

    Dear Dr. Roots:

    We represent Teladoc Health, Inc. ("Teladoc" or the "Company") and Teladoc's corporate
    subsidiaries and affiliates, including, without limitation, Teladoc Behavioral Health, P.A.
    ("Teladoc Behavioral"). It has come to our attention that you have knowingly and intentionally
    shared material, confidential information about Teladoc and Teladoc Behavioral with certain
    persons and entities in violation of each of: (i) the Confidential Settlement Agreement and General
    Release of All Claims between you and Teladoc, dated June 22, 2018 ("Settlement Agreement");
    (ii) the Independent Contractor Physician Agreement between you and Teladoc Behavioral, dated
    May 26, 2015 ("Physician Agreement"); (iii) the Employment Agreement between you Teladoc,
    dated December 5, 2016 ("Employment Agreement"); and (iv) the Employee Confidentiality and
    Proprietary Rights Agreement between you and Teladoc, dated December 5, 2016
    ("Confidentiality Agreement").

    In particular, we wish to draw your attention to Paragraph 12 of the Settlement Agreement in which
    you promise to

                                           Further, you agree that

                                                                          You have knowingly and
    intentionally breached the Settlement Agreement by providing material, confidential information
    to market participants. Accordingly, you have forfeited any benefits received by you, or due to
    you, under the Settlement Agreement. The Settlement Agreement provides that your equity
    interests in the Company will
      April 9, 2019
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                  The Continued Vesting requires, however, that you
                                               including Paragraph 12. By knowingly and intentionally
      providing material, confidential information to market participants,
                                               and, as a material breach of the contract, the Company is
      empowered to terminate the Continued Vesting. Your material breach of the Settlement
      Agreement terminates the Company's obligation to vest all outstanding equity incentives under
      the Continued Vesting.

      Your conduct further violates the Physician Agreement, the Employment Agreement and the
      Confidentiality Agreement. Although the Settlement Agreement terminated certain provisions of
      the Employment Agreement, Paragraphs 6 and 14 of the Settlement Agreement


                                           By providing material, confidential information to market
      participants, you have
      which explicitly requires that you
                                                                                    Moreover, Paragraph
      9 states that you

                                                                                            Your actions
      constitute a manifest violation of the Physician Agreement, and, in tum, the Settlement Agreement,
      the Employment Agreement and the Confidentiality Agreement.

      Perhaps most significantly, for you, your actions in improperly sharing material, non-public
      information with market participants in violation of your duty of confidentiality to Teladoc appear
      to constitute insider trading in violation of Securities Exchange Act Rule lOb-5(1), codified at 17
      C.F.R. 240. lOb-5(1). As you are no doubt aware, this offense carries significant civil and criminal
      penalties for both yourself and those with whom you have improperly shared material, non-public
      information in violation of your duties to Teladoc.

      To be clear, Teladoc has actionable evidence of your conduct and intends to take any and all actions
      that are appropriate, including actions in regard to any and all equity grants, deferred
      compensation, or compensation pursuant to contracts with the Company still outstanding. The
      Company may be obligated to and will report your conduct to any and all law enforcement
      agencies, including the United States Department of Justice, the New York Attorney General's
      Office and the United States Securities and Exchange Commission. The Company will also pursue
      any and all civil remedies available for the breach of the Physician Agreement and the Settlement
      Agreement, including punitive damages. Teladoc Behavioral hereby terminates the Physician
      Agreement for "cause" pursuant to the terms of Section 4(b) thereof.
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        If you have questions, please contact me at (212) 906-1350.




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                                                    of LATHAM & ATKINS LLP
